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                    Plaintiff(s)
                                                                                    -JLR




                   Defendant(s)




(Defendant’s name and address)




                                                    CLERK
                                                     LERK OF COURT


          5/27/2025
                                                             Signature of Clerk or Deputy Cl
                                                                                          Clerk
                                                                                           leerrk
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     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

                      (name of individual and title, if any)

                (date)


                                                               (place)

                                                                         (date)

                                                                                             (name)



(date)

                                  (name of individual)

                                                                   (name of organization)

                                                                         (date)




         (specify):




                                                                                  Server’s signature



                                                                              Printed name and title




                                                                                  Server’s address
